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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                          Criminal No. 21-108 (01) (PAM/TNL)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               )   UNITED STATES’ SENTENCING
               v.                              )   MEMORANDUM
                                               )
 DEREK MICHAEL CHAUVIN,                        )
                                               )
                      Defendant.               )
                                               )

       COMES NOW the United States of America, by and through undersigned counsel,

and respectfully submits the following memorandum in aid of sentencing. The United

States respectfully recommends a sentence of 300 months’ imprisonment, within the

agreed-upon range set forth in the plea agreement, is reasonable and appropriate in light of

defendant Derek Chauvin’s grievous offenses and in consideration of the factors set forth

in 18 U.S.C. § 3553(a)

       First, the crimes here cannot be more serious. The defendant, abusing his police

authority, took the life of George Floyd. Second, the defendant’s conduct was not isolated:

the defendant also hurt a 14-year-old child without justification, when he was handcuffed,

compliant, and owed the defendant’s protection. Third, neither of these events involved

an officer making a split-second decision. Instead, the defendant made a series of

deliberate choices—to disregard his training, to ignore the victims’ pleas, and to discount

the warnings of bystanders. Fourth, in committing these offenses, the defendant did more

than injure his victims and cause their families and friends to suffer; he also damaged public
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trust in law enforcement and the criminal justice system. For all of these reasons, a

sentence of 300 months—25 years—is reasonable and appropriate.

I.     Procedural History

       On December 15, 2021, the defendant, former Minneapolis Police Department

(“MPD”) officer Derek Chauvin, pleaded guilty to two violations of 18 U.S.C. § 242

pursuant to an agreement under Federal Rule of Criminal Procedure 11(c)(1)(C).

Specifically, the defendant pleaded guilty to willfully depriving George Floyd of the right

to be free from the use of unreasonable force by a police officer, resulting in Mr. Floyd’s

death, as charged in Count One of the Indictment. ECF Nos. 1, 142. Defendant Chauvin

also pleaded guilty to willfully depriving a 14-year-old child (“Juvenile 1”) of his right to

be free from the use of unreasonable force by a police officer, as charged in Count One of

an Information filed on December 15, 2021. ECF No. 139. The defendant admitted that,

as charged in the Information, this offense involved the use of a dangerous weapon and

resulted in bodily injury to Juvenile 1.

II.    Factual Background

       The charges against the defendant arose out of two separate incidents in which he

held his knee on the necks of handcuffed and unresisting citizens for more than nine

minutes each, even after they cried out in pain and said that they could not breathe, and, in

Mr. Floyd’s case, even after he became unresponsive and lost a pulse.

       A.     George Floyd

       On the evening of May 25, 2020, the defendant and his partner, former MPD officer

Tou Thao, responded to a dispatch call regarding a counterfeit bill, even though other


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officers were already on scene. When the defendant and Officer Thao arrived, former MPD

officers J. Alexander Kueng and Thomas Lane had already handcuffed Mr. Floyd and were

attempting to seat Mr. Floyd in their squad car. Mr. Floyd expressed his fear of being

placed in the car and told the officers he was claustrophobic, and when Officers Kueng and

Lane tried physically forcing him into the car, Mr. Floyd began to struggle. Eventually,

after Mr. Floyd pushed himself partially out of the squad car and asked to be placed on the

ground, the defendant and Officers Kueng and Lane maneuvered Mr. Floyd out of the

vehicle and face-down on the street. At 8:19:14 p.m., as soon as Mr. Floyd was face-down

on the street, the defendant placed his left knee on the back of Mr. Floyd’s neck and his

right knee on Mr. Floyd’s left arm and upper back, holding Mr. Floyd, who remained

handcuffed, in the prone position. Less than one minute into the restraint, Mr. Floyd

stopped struggling against the officers. Although Mr. Floyd had stopped resisting, the

defendant did not remove his knees from Mr. Floyd’s body for the next nine minutes and

29 seconds—including two minutes and 44 seconds after Officer Kueng announced that he

could not find Mr. Floyd’s pulse.

      The defendant has admitted that his continued use of force under these

circumstances was objectively unreasonable and excessive, and that in using this excessive

force, he acted in callous and wanton disregard to Mr. Floyd’s life. Further, the defendant

admitted that he knew what he was doing was wrong, in part because it was contrary to his

training as an MPD officer. He knew, based on MPD policy and training, that once Mr.

Floyd stopped resisting, the defendant should have gotten off of Mr. Floyd and moved him

into a side-recovery or seated position. Specifically, the defendant knew that Mr. Floyd—


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who pleaded for air, stopped talking, stopped moving, stopped breathing, lost

consciousness, and lost a pulse—was no longer resisting and that Mr. Floyd’s medical

condition was progressively deteriorating. Thus, the defendant knew that there was no

legal justification to continue his use of force.

       In choosing to continue his use of force, the defendant ignored information that

should have triggered both alarm and immediate action on his part:

            Mr. Floyd told the defendant that he could not breathe because of the knee

              on his neck, and he repeatedly begged the defendant to help him. Mr. Floyd

              pleaded with the defendant, telling him 25 times that he could not breathe.

              In particular, the defendant heard Mr. Floyd say, “Please, somebody help

              me!”; “I can’t breathe! Please, a knee in my neck, I can’t breathe shit!”; and

              “My neck hurts. …Everything hurts.” Instead of getting off of Mr. Floyd

              and assisting him, as the defendant had been trained to do, the defendant

              joked with Mr. Kueng that Mr. Floyd’s pleas “take[] a heck of a lot of

              oxygen.”

            Officer Lane asked about rolling Mr. Floyd onto his side as Mr. Floyd’s

              groans became softer. Instead of getting off of Mr. Floyd and assisting him,

              as the defendant had been trained to do, the defendant responded, “No, he’s

              staying put the way we got him.” The defendant then held his knees on Mr.

              Floyd’s body for almost five more minutes.

            Mr. Floyd stopped talking. Had the defendant believed that if Mr. Floyd

              could talk, that meant he could breathe, the fact that Mr. Floyd stopped

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     talking should have been a red flag. Nevertheless, the defendant continued

     to hold his knees on Mr. Floyd’s body for four minutes and 44 seconds after

     Mr. Floyd spoke his last words: “Please, man, I can’t breathe.”

   Mr. Floyd stopped moving. As bystanders on the sidewalk pleaded with the

     defendant to get off Mr. Floyd because his position was stopping Mr. Floyd’s

     breathing, and warned “you’re just gonna choke him like that,” the defendant

     responded by pulling out his cannister of pepper spray, shaking it, and

     pointing it at the bystanders.

   Mr. Floyd lost consciousness. The defendant held his knees on Mr. Floyd’s

     unconscious body for four minutes after Officer Lane said “I think he’s

     passing out.” The defendant continued to hold his knees on Mr. Floyd’s body

     for more than three minutes after Officer Lane again asked, “Should we roll

     him on his side?” In doing so, the defendant ignored both Officer Lane and

     the bystanders on the sidewalk, including a woman who stated that she was

     an off-duty Minneapolis firefighter, who begged the defendant to get off of

     Mr. Floyd, told the defendant that he was stopping Mr. Floyd’s breathing,

     described Mr. Floyd as “unresponsive,” and asked the officers to check Mr.

     Floyd’s pulse.

   Officer Kueng said that he could not find a pulse. The defendant heard

     Officer Kueng say that he could not find a pulse, yet even then—when this

     ultimate alarm bell sounded—the defendant ignored this vital information.

     The defendant failed even to get off of Mr. Floyd’s pulseless body, let alone

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                 render the emergency medical care, such as CPR, that he had been trained to

                 provide. Instead, the defendant held his knees on Mr. Floyd’s body for two

                 minutes and 44 seconds after Officer Kueng announced that he could not find

                 a pulse.

               Paramedics arrived and checked for a pulse. The defendant still did not

                 remove his knee from Mr. Floyd’s neck for more than one minute after an

                 ambulance arrived on scene, delaying the paramedics’ ability to get Mr.

                 Floyd into the ambulance for treatment. Only when a paramedic gestured to

                 the defendant that it was time to move Mr. Floyd’s body onto a stretcher did

                 the defendant take his knees off Mr. Floyd.

Despite all of these alarm bells, the defendant chose not to change course. At no point

during the entire period that Mr. Floyd was on the ground did the defendant remove his

knees from Mr. Floyd or provide him with any of the medical aid he admits he was trained

and required by MPD policy to provide. The defendant’s continued restraint of Mr. Floyd,

which impaired Mr. Floyd’s ability to obtain and maintain sufficient oxygen, and the

defendant’s failure to provide any basic medical aid to Mr. Floyd, resulted in Mr. Floyd’s

death.

         B.      Juvenile 1

         On September 4, 2017, the defendant and a second MPD officer who was being

trained by the defendant that day responded to a domestic assault call at a residence in

Minneapolis. Upon arrival, they spoke with the caller, who reported that her 14-year-old

son, Juvenile 1, had held her from behind during a dispute over a cellphone charger, that


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she had pinched him, and that he had let her go. The trainee officer noted that the mother

did not have any physical injuries. After the officers took a report from the mother, she

showed them to a bedroom where Juvenile 1 was lying on his stomach on the floor, playing

with his phone.

      The trainee officer directed Juvenile 1 to stand up, and Juvenile 1 responded, “I’m

fine.” The trainee officer repeated, “Stand up,” and Juvenile 1 sat up and began explaining

that his mother was intoxicated and had assaulted him. The trainee officer repeated his

instructions and approached Juvenile 1, and Juvenile 1 began to stand up as directed. The

trainee officer then grabbed Juvenile 1’s arm in an attempt to handcuff him, and Juvenile

1 pulled back, saying, “You can’t touch me in my own house!”

      Approximately five seconds after the trainee officer grabbed Juvenile 1’s arm, the

defendant struck Juvenile 1 in the head multiple times with a police-issue flashlight. The

defendant then pinned Juvenile 1 to the wall by his throat and again struck Juvenile 1 in

the head with his flashlight. Juvenile 1 cried out, “Ow, ow, you’re hurting me!” The

defendant’s strike caused a wound above Juvenile 1’s left ear that visibly bled onto the

carpet and ultimately required stitches. The defendant admitted that throughout the

encounter, he was aware that Juvenile 1 was only 14 years old and knew that Juvenile 1

had made no aggressive moves towards the officers.

      The defendant admitted that he then held his knee on Juvenile 1’s neck and upper

back for between 15 and 16 minutes, while Juvenile 1 was face-down on the floor,

handcuffed and unresisting. The defendant held his knee on Juvenile 1’s neck for more

than six and a half minutes, during which time Juvenile 1 cried, reported three times that


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his neck hurt, and twice asked the defendant if he could move his knee to Juvenile 1’s back

because “my neck really hurts.” The defendant moved his knee to Juvenile 1’s upper back

and held it there for an additional nine minutes, during which time Juvenile 1 remained

compliant and unresisting. See Exhibits 1 & 21 (body-worn camera video of incident). The

defendant admitted that both uses of force against Juvenile 1—striking Juvenile 1 with his

flashlight and pinning him prone to the ground while Juvenile 1 was compliant—were

unreasonable and excessive.

         After the incident, the defendant wrote a report about his interactions with Juvenile

1. The defendant omitted from his report that he repeatedly struck Juvenile 1 in the head

with a flashlight, grabbed Juvenile 1 by the throat, used his knee to restrain Juvenile 1 by

the neck, and pinned Juvenile 1 to the ground for more than 15 minutes. See Exhibit 3

(incident report).

III.     Plea Agreement and Presentence Investigation Report

         The United States has reviewed the Presentence Investigation Report (PSR)

prepared by the U.S. Probation Office. The United States has no objections to the PSR,

and agrees that the advisory Guidelines range is life imprisonment. ECF No. 350 ¶¶ 77,

82.

         The parties agreed, pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), that

a sentence of imprisonment of no less than 240 months and no greater than 300 months,

and a five-year term of supervised release, was appropriate. ECF No. 142 ¶ 10. Further,



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    The United States will submit the exhibits to the Court separately.

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the parties agreed that pursuant to U.S.S.G. § 5G1.3(b)(1) & (2), the sentence of

imprisonment imposed in this case should be served concurrent to the sentence imposed in

State of Minnesota v. Derek Chauvin, No. 27-CR-20-12646 (“the State case”), and the

sentence should be adjusted for any period of imprisonment already served. ECF No. 142

¶ 10.

        In the State case, the defendant received a sentence of 270 months’ imprisonment,

and assuming all good-time credit, is expected to serve approximately 178 months, or two-

thirds of that sentence. The State case did not address the defendant’s conduct toward

Juvenile 1, and therefore the sentence in the state case did not account for the separate and

additional harm the defendant inflicted on Juvenile 1.          See, e.g., United States v.

Palkowitsch, -- F.4th --, 2022 WL 2080162 (8th Cir. Jun. 10, 2022) (affirming 72-month

sentence of officer-defendant after he was convicted after trial on one count of violating 18

U.S.C. § 242 for kicking a man three times as he was being bitten and held by a police

canine). Sentencing the defendant to the bottom of the agreed upon range in this case (240

months, of which the defendant would be expected to service approximately 204 months

after good-time credit) would fail to adequately address the separate conduct against

Juvenile 1.

IV.     Section 3553(a) Factors Support a 25-Year Sentence

        When fashioning an appropriate sentence for a defendant, a court must first consider

the applicable Guideline range under 18 U.S.C. § 3553(a)(4). United States v. Hernandez,

518 F.3d 613, 616 (8th Cir. 2008). Although the sentencing guidelines are advisory, they

are the “starting point and the initial benchmark” for federal sentencing. Id. at 616 (quoting


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Gall v. United States, 552 U.S. 38, 49 (2007)). Once a court has determined the appropriate

sentencing range, it must then consider that range in light of the other relevant § 3553(a)

factors. Hernandez, 518 F.3d at 616.

       Here, the Court has accepted the 20- to 25-year sentencing range. ECF No. 333. In

order to arrive at an appropriate sentence within that range, the Court must consider several

factors, including: (1) the nature and circumstances of the offense; (2) the history and

characteristics of the defendant; (3) the need for the sentence imposed to reflect the

seriousness of the offense, promote respect for the law, and provide just punishment; and

(4) adequate deterrence of criminal conduct and the protection of the public. 18 U.S.C.

§ 3553(a). Section 3553(a) then requires the Court to “impose a sentence sufficient, but

not greater than necessary, to comply” with these purposes. Id. Consideration of the

3553(a) factors here demonstrates that a 300-month sentence is most consistent with these

purposes.

       A.     The Nature and Circumstances of the Offense

       The first § 3553(a) factor courts consider is the “nature and circumstances of the

offense.” 18 U.S.C. § 3553(a)(1). The nature and circumstances of the defendant’s

conduct warrant a 300-month term of imprisonment.

       The defendant’s actions were, in Mr. Floyd’s words, “cold-blooded.” The defendant

pinned Mr. Floyd to the street and squeezed the breath out of him, slowly killing him over

the course of nine and a half minutes, during which time Mr. Floyd begged for help. Mr.

Floyd understood that the defendant was killing him as it was happening (“I’m about to

die;” “Please, a knee in my neck, I can’t breathe;” “They’re gonna kill me, they will kill


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me, I can’t breathe.”), but Mr. Floyd’s pleas failed to move the defendant. Indeed, nothing

moved him from his position on top of Mr. Floyd, and nothing moved him to acknowledge

the suffering of the fellow human beneath his knees: not Mr. Floyd’s own frightened

entreaties, not the growing alarm of the bystanders, not the statements of his fellow officers

that Mr. Floyd had passed out and that they could not find a pulse, and not Mr. Floyd’s still

and lifeless body. The defendant’s actions were also cold-blooded because they were

needless. Mr. Floyd was handcuffed the entire time, and after less than a minute on the

ground, he stopped struggling.

       The defendant’s actions toward Juvenile 1 were equally unjustified. Juvenile 1, a

child of 14 at the time, initially questioned the officers’ reasons for arresting him, tried to

explain that his mother was intoxicated, and pulled away when the defendant’s partner tried

to handcuff him. Instead of taking a moment to answer Juvenile 1’s questions, the

defendant responded by pinning Juvenile 1 to the wall by his throat, striking Juvenile 1 in

the head with a police-issue flashlight, and pressing his knee into Juvenile 1’s neck and

upper back for more than 15 minutes. As with Mr. Floyd, once the defendant pinned

Juvenile 1 to the ground, the defendant remained in that position, even though Juvenile 1

was compliant, cooperating with police directions, and at times, crying from fear and pain.

Throughout both incidents, the defendant appeared unable or unwilling to recognize the

humanity of the people under his knees—a compliant young teenager and a frightened man

calling out to his loved ones—no matter how many minutes passed, no matter how

completely the people beneath him complied, no matter how anguished their cries of pain




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and fear. The nature and circumstances of these offenses weigh in favor of a 300-month

sentence.2

       B.     The History and Characteristics of the Defendant

       Section 3553(a)(1) also directs courts to consider “the history and characteristics of

defendant.” One of the most salient features of the defendant’s history is that he served as

a law enforcement officer for more than 18 years. Although a lengthy term of public

service often serves as a mitigating factor at sentencing, this characteristic is aggravating

in this case, as the defendant’s history involved more than one abuse of his official position.

See United States v. Thames, 214 F.3d 608, 614 (5th Cir. 2000) (“A defendant’s status as

a law enforcement officer is often times more akin to an aggravating as opposed to a

mitigating sentencing factor, as criminal conduct by a police officer constitutes an abuse

of a public position.”).

       Indeed, the defendant used his law enforcement career to engage in abusive conduct

in which the defendant punished those who did not instantly submit to his authority. This

can be seen in both counts of conviction, in which the defendant reacted to Juvenile 1’s

questions about why the officers were arresting him, and to Mr. Floyd’s fear of being

placed in a police squad, by pinning Juvenile 1 and Mr. Floyd to the ground and kneeling


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  In addition, pursuant to U.S. Sentencing Guideline § 3D1.4(c), the total offense level
“disregard[ed]” the incident involving Juvenile 1 for guideline calculation purposes,
because the offense level for this count was more than nine levels lower than the offense
level for the incident involving Mr. Floyd. See ECF No. 332 ¶ 73. As this count did not
increase the defendant’s offense level, it can and does instead support a sentence at the
high end of the agreed upon sentencing range. Cf. § 3D1.4(c) (noting that such a situation
“may provide a reason for sentencing at the higher end of the sentencing range for the
applicable offense level”).

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on their necks long after they were compliant. Both incidents demonstrate that the

defendant willfully used unreasonable force without regard for the life and safety of

members of the public he was charged with protecting.

       C.     The Seriousness of the Defendant’s Offenses, Promotion of Respect for
              the Law, and a Just Punishment
       Section 3553(a) also directs the sentencing court to consider the need for the

sentence “to reflect the seriousness of the offense, promote respect for the law, and to

provide for a just punishment.” 18 U.S.C. § 3553(a)(2)(A). A 300-month sentence

appropriately captures the seriousness of the defendant’s abuses and the lasting harms that

he has inflicted on his victims, their families, and the larger community.

       No harm can be greater than the harm the defendant perpetrated against Mr. Floyd:

he took Mr. Floyd’s life. The defendant’s offenses against Mr. Floyd and Juvenile 1 were

also of the utmost seriousness because the defendant committed these acts of violence

against people in his custody and care. The defendant abused the power of his position

when he took Mr. Floyd’s life and hurt Juvenile 1 without justification. As a police officer,

he had a special responsibility for both Mr. Floyd and Juvenile 1’s safety because they

were in his custody. They were handcuffed; they could not get themselves medical care;

and they could not defend themselves against illegitimate force.

       Instead of protecting Juvenile 1 and Mr. Floyd as the defendant’s badge and oath

required, he injured Juvenile 1 and took Mr. Floyd’s life. The defendant’s position of

authority also prevented others from stepping in to save Mr. Floyd and protect Juvenile 1.

Although the bystanders on the sidewalk feared for Mr. Floyd’s life, and they called out to



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the officers to get off of him and aid him, the defendant’s police authority prevented the

bystanders from taking physical steps to intervene. The defendant shook his cannister of

pepper spray at them, warning them that if they approached, he would use force on them.

And in addition to risking physical injury, the bystanders risked arrest and criminal

prosecution if they acted. Similarly, Juvenile 1’s mother witnessed the defendant’s conduct

and warned, “Y’all are hurting my son . . . [c]an you get your knee off my son . . . you

already got him in handcuffs. Please take your knee off my son.” Despite her concern and

increasing distress, because of the defendant’s position as a law enforcement officer, she

could not physically intervene to aid her son without risking potentially severe

consequences.

       The defendant’s offenses—the murder and abuse of individuals in his custody—are

offenses both against the individual victims and against the criminal justice system itself

because this type of criminal conduct by a law enforcement officer undermines public trust

in our system of justice. Numerous courts have held that crimes committed by law

enforcement officers are ones that courts should treat more seriously, not less seriously,

than other types of criminal acts. See Thames, 214 F.3d at 614; see also United States v.

McQueen, 727 F.3d 1144, 1157 (11th Cir. 2013) (reversing a below-guidelines sentence in

an excessive force case as “a clear error of judgment” because such a crime is a

“particularly serious offense”); United States v. LaVallee, 439 F.3d 670, 708 (10th Cir.

2006) (“[I]n many instances, committing a crime while acting under color of law will result

in a higher sentence – as it did in this case – rather than a lower sentence.”).




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        D.    Deterrence and Protection of the Public from Further Crimes

        Protecting the public and deterring additional criminal conduct is the fourth factor

courts are directed to consider under Section 3553(a)(2)(B)-(C). This Court will ensure

public safety by sentencing the defendant to a 300-month sentence of imprisonment. The

defendant will never again serve as a law enforcement officer, and thus, the need for a

sentence to protect the public against future, similar crimes by this defendant is not at issue

here.    However, “Congress specifically made general deterrence an appropriate

[sentencing] consideration under [S]ection 3553(a)(2)(B),” and the Eighth Circuit has

“described it as ‘one of the key purposes of sentencing.’” Ferguson v. United States, 623

F.3d 627, 632 (8th Cir. 2010) (quoting United States v. Medearis, 451 F.3d 918, 920 (8th

Cir. 2006)). A sentence at the top of the plea range will serve as a reminder to other officers

that although they undoubtedly have a difficult job, and one that sometimes carries life and

death responsibilities, their role in our criminal justice system is a limited one, and does

not include imposing punishment. A 300-month sentence will thus serve to protect the

American public by deterring additional crimes and promoting respect for the law.

V.      Conclusion

        For these reasons, the United States respectfully submits that the defendant should

be sentenced to 300 months’ imprisonment, to be followed by five years of supervised

release on Count One of the Indictment, to run concurrently with a term of three years of




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supervised release on Count One of the Information. See 18 U.S.C. § 3624(e) (multiple

terms of supervised release shall run concurrently).


Dated: June 22, 2022                          Respectfully submitted,


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